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                                 December 4, 2020

The Hon. George L. Russell
United States District Court
101 West Lombard Street
Baltimore, Maryland 21201

       Re:    United States v. Sonny Spencer, GLR-19-0400

Dear Judge Russell:

       I am writing in anticipation of Sonny Spencer’s sentencing, scheduled for
December 10, 2020, and to respectfully ask the Court to impose the agreed-upon
sentence of 84 months pursuant to Rule 11(c)(1)(C). I write briefly to explain a
few factors absent from the PSR that may be relevant to the Court:

       First, Spencer has made enormous strides in his educational pursuit. He has
been participating in the GED program at the Correctional Treatment Facility
(CTF) and remains only one section away from earning his degree. After
struggling for years with school, Spencer is now a successful student, earning
Student of the Month accolades two months in a row. He has also been an active
participant in the Georgetown Street Law Program and the Free Minds Book Club.
Despite the lockdown halting all programming, Spencer has been able to
participate virtually in these workshops which have motivated him to continue to
pursue a higher education.

        Second, Spencer suffered a tragic loss earlier this year when his older
brother, Dion, passed away suddenly from a brain aneurysm. This loss,
compounded with the fact that this is the longest time Spencer has ever spent
incarcerated and away from his family, has given Spencer a new perspective on
life. He wants to ensure that upon his release, he can provide for his young son and
family.

       Finally, the past nine months Spencer has spent incarcerated at CTF have
been extremely difficult. As this Court knows, CTF suffered from a COVID-19
outbreak earlier this year and unfortunately, Spencer contracted the virus in April.
To this day, Spencer has difficulty breathing. Further, Spencer spent months
completely isolated from other inmates. For several weeks, he spent 23 hours a
day locked in his single-person cell to prevent the spread of the virus. All
programming and family visits have been halted. The conditions of confinement
have changed significantly in response to the COVID-19 pandemic. These
conditions have increased the severity of Spencer’s time at CTF.

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       For these reasons, among others, we respectfully ask this court to impose
the agreed-upon sentence of 84 months.

                           Sincerely,


                           ______/s/________
                           C. Justin Brown


cc: AUSA Brandon Moore




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